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UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No. 09-1792
(1:04-cv-00560-JEFM)
(MDL~1586)

JOSEPH SHANIS; LEAD PLAINTIFF OHIO TUITION TRUST AUTHORITY
Plaintiffs - Appellants
and

DIANE SAUNDERS, on behalf of herself and all others similarly
situated; THOMAS W. FORSTER; THE CITY OF SUNRISE GENERAL
EMPLOYEES' RETIREMENT PLAN; ADDITIONAL CLASS COUNSEL FOR THE
PUTNAM SUBTRACK; LEAD CLASS COUNSEL FOR THE PUTNAM SUBTRACK; A
PLAINTIFF; STEPHEN A. FRIEDMAN; OHIO TUITION TRUST AUTHORITY;
LINDA PARKER; JACKIE WILLIAMS; LEAD CLASS PLAINTIFFS

Plaintiffs
Vv.

PUTNAM INVESTMENTS TRUST; PUTNAM INVESTMENT MANAGEMENT, LLC;
JAMES PRUSKO; JUSTIN SCOTT; CARMEL PETERS; GEIRULV LODE; PUTNAM
RETATL MANAGEMENT LIMITED PARTNERSHIP; STEPHEN M. ORISTAGLIO;
ROBERT F. LUCEY; IRENE M. ESTEVES; GORDON H. SILVER; LAWRENCE J.
LASSER; PUTNAM INVESTMENT MANAGEMENT TRUST; PUTNAM, LLC; MARSH &
MCLENNAN COMPANIES, INCORPORATED; FRANK PERFETUO .

Defendants - Appellees
and

PUTNAM FIDUCIARY TRUST COMPANY; PRUDENTIAL SECURITIES,
INCORPORATED; LINCOLN FINANCIAL ADVISORS CORPORATION; SCHIELD
MANAGEMENT COMPANY; RTE ASSET MANAGEMENT; PRITCHARD CAPITAL
PARTNERS, LLC; A.J. C. SMITH; PRUDENTIAL EQUITY GROUP, LLC;
INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS LOCAL NO. 150
SUPPLEMENTAL TRUST; ALAN KATZ, Individually and on behalf of the
Katz, Kutter, et al; BTS ASSET MANAGEMENT; PUTNAM AMERICAN
GOVERNMENT INCOME FUND; PUTNAM ARIZONA TAX EXEMPT INCOME FUND;

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PUTNAM ASSET ALLOCATION: BALANCED PORTFOLIO; PUTNAM ASSET
ALLOCATION: GROWTH PORTFOLIO; PUTNAM ASSET ALLOCATION
CONSERVATIVE PORTFOLIO; PUTNAM CALIFORNIA TAX EXEMPT INCOME
FUND; PUTNAM CAPITAL APPRECIATION FUND; PUTNAM CAPITAL
OPPORTUNITIES FUND; PUTNAM CLASSIC EQUITY FUND; PUTNAM
CONVERTIBLE INCOME-GROWTH TRUST; PUTNAM DIVERSIFIED INCOME
TRUST; PUTNAM DISCOVERY GROWTH FUND; PUTNAM EQUITY INCOME FUND;
PUTNAM EUROPE EQUITY FUND; PUTNAM FLORIDA TAX EXEMPT INCOME
FUND; PUTNAM GLOBAL EQUITY FUND; PUTNAM GLOBAL INCOME TRUST;
PUTNAM GLOBAL NATURAL RESOURCES FUND; PUTNAM GROWTH
OPPORTUNITIES FUND; PUTNAM HEALTH SCIENCES TRUST; PUTNAM HIGH
YIELD TRUST; PUTNAM INCOME FUND; PUTNAM INTERMEDIATE U.S.
GOVERNMENT INCOME FUND; PUTNAM INTERNATIONAL CAPITAL
OPPORTUNITIES FUND; PUTNAM INTERNATIONAL EQUITY FUND; PUTNAM
INTERNATIONAL GROWTH AND INCOME FUND; PUTNAM INTERNATIONAL NEW
OPPORTUNITIES FUND; PUTNAM INVESTORS FUND; PUTNAM MASSACHUSETTS
TAX EXEMPT INCOME FUND; PUTNAM MICHIGAN TAX EXEMPT INCOME FUND;
PUTNAM MID CAP VALUE FUND; PUTNAM MINNESOTA TAX EXEMPT INCOME
FUND; PUTNAM MONEY MARKET FUND; PUTNAM MUNICIPAL INCOME FUND;
PUTNAM NEW JERSEY TAX EXEMPT INCOME FUND; PUTNAM NEW
OPPORTUNITIES FUND; PUTNAM NEW: VALUE FUND; PUTNAM NEW YORK TAX
EXEMPT INCOME FUND; PUTNAM NEW YORK TAX EXEMPT OPPORTUNITIES
FUND; PUTNAM OHIO TAX EXEMPT INCOME FUND; PUTNAM OTC & EMERGING
GROWTH FUND; PUTNAM PENNSYLVANIA TAX EXEMPT INCOME FUND; PUTNAM
RESEARCH FUND; PUTNAM SMALL CAP GROWTH FUND; PUTNAM SMALL CAP
VALUE FUND; PUTNAM TAX EXEMPT MONEY MARKET FUND; PUTNAM TAX
SMART EQUITY FUND; PUTNAM TAX-FREE HIGH YIELD FUND; PUTNAM TAX-
FREE INSURED FUND; PUTNAM U.S. GOVERNMENT INCOME TRUST; PUTNAM
UTILITIES GROWTH AND INCOME FUND; PUTNAM VISTA FUND; PUTNAM
VOYAGER FUND; PUTNAM INVESTMENT FUNDS; OMID KAMSHAD; JOHN DOES
1-100; MERRILL LYNCH, PIERCE, FENNER & SMITH, INCORPORATED;
SPECTRUM FINANCIAL, INCORPORATED; BUFFALO CAPITAL CORPORATION;
TRAUTMAN WASSERMAN & COMPANY, INCORPORATED; BANK OF AMERICA
CORPORATION; KIRLIN SECURITIES, TNCORPORATED; CANARY INVESTMENT
MANAGEMENT, LLC; CANARY CAPITAL PARTNERS, LIMITED; CANARY
CAPITAL PARTNERS, LLC; EDWARD J. STERN; W. NICHOLAS THORNDIKE;
W. THOMAS STEPHENS; GEORGE PUTNAM, III; ROBERT E. PATTERSON;
JOHN H. MULLIN, III; ELIZABETH T. KEENAN; PAUL L. JOSKOW; RONALD
J. JACKSON; JOHN A. HILL; CHARLES B. CURTIS; JAMESON A. BAXTER;
PUTNAM NEW YORK TAX EXEMPT MONEY MARKET FUND; PUTNAM CALIFORNIA
TAX EXEMPT MONEY MARKET FUND; THE PUTNAM FUND FOR GROWTH AND
INCOME; THE GEORGE PUTNAM FUND OF BOSTON; PUTNAM BALANCED
RETIREMENT FUND; PUTNAM ASTA PACIFIC GROWTH FUND; PUTNAM TAX
EXEMPT FUND; PUTNAM STRATEGIC INCOME FUND; PUTNAM PREFERRED
INCOME FUND; PUTNAM TAX SMART FUNDS TRUST; PUTNAM ASSET
ALLOCATION FUND; PUTNAM TAX-FREE INCOME TRUST; PUTNAM FUNDS
TRUST; IAN S. FERGUSON; WILLIAM H. WOOLVERTON

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Defendants
Vv.

JILL LYNN BATLIN; PUTNAM FUNDS; JOANNE S. BASEMAN; GEIL CRAVEN;
JOHN K. CLEMENT; SETH MARKS; DINA ROZENBAUM; DIANE HUTTO

Movants

MOTION TO DISMISS

The undersigned hereby moves that the above appeal be
dismissed upon such terms as have been agreed to by the parties.
FRAP 42(b). Undersigned counsel represents to the Court that all

appellate counsel of record consent to this dismissal.

Jean M. Geoppinger
Counsel for Appellant

